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                          UNITED STATES DISTRICT COURT
                          SO UTH ER N D ISTRICT O F FLO RIDA
                           Case No.18-23576-CIV-W ILLIAMS
 AM GRAND CO URT LAKES,LLC,etaI.,

       Plaintiffs,

 V.

 ROCKHILL INSURANCE CO M PANY,

       Defendant.
                                                /

                                        QRDER
       THIS MATTER is before the Coud on (DE 13)Defendant RockhillInsurance
 Com pany's m otion to dism iss the two-countcom plaintfiled by Plaintiffs AM G rand Coud

 Lakes LLC and AM 280 Sierra Drive LLC. Forthe reasons below ,Defendant's m otion is

 G RANTED IN PART AND DENIED IN PART                Plaintiffs'bad fai
                                                                     th claim is dism issed

 without prejudice'
                  ,Defendantmust answer Plaintiffs'breach of contract claim within
 foudeen days.

 1.    BACKG RO UND

       Plainti
             ffs ow n realpropedy insured undera com m ercialpropedy insurance policy

 issued by Defendant. (DE 9-3 116). In Septem ber2017,while the policy was in place,
 the propedy sustained wind and waterdam age from Hurricane Irm a- a ''covered Ioss''

 underthe policy.Id.!19.Plainti#snoti
                                    fied Defendantofthe Ioss,and Defendantaccepted
 coverage. Id.:11O. Butbecause Defendanthas notissued any paymentto Plaintifsfor
 the Ioss,they filed a two-count com plaint in Florida state coud for breach of contract

 (Count1)andstatutorybadfaith(Count11).Id.!111.The casewassubsequentlyremoved
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 to thisCourt.(DE 1).Defendantnow movestodismissthe bad fai
                                                          thclaim as unripe and
 strike ''aIIbad faith allegations contained'
                                            'in the breach ofcontractclaim .

 II.    LEGAL STANDARD

        To survive a Rule 12(b)(6)motion to dismiss,a plaintiffmustplead sufficientfacts
 to state a claim thatis''plausible on itsface.''Ashcroftv.Iqbal,556 U.S.662,678 (2009)
 (quoting BellAtlantic Corp.      Twombly, 55O U.S. 544, 57O (2007)). The Coud's
 consideration is Iimited to the allegations in the complaint. See GS7 Inc.v.Long Cty.,
 999 F.2d 1508,1510 (11th Cir.1993).AIIfactualallegationsare accepted astrue and aII
 reasonable inferences are draw n in the plaintiff's favor. See Speaker tt U.S.Depl.of

 HeaIth & Hum an Selvs.Ctrs.for Disease Control& Prevention,623 F.3d 1371,1379

 (11th Cir.2010)*
                ,see also Roberts v.Fla.Power& LightCo.,146 F.3d 1305,1307 (11th
 Cir.1998).Althougha plainti
                           ffneed notprovide 'tdetailedfactualallegations,''a complaint
 must provide ''more than Iabels and conclusionsa'' Twombly,550 U.S.at 555. C'EAJ
 formulaic recitation ofthe elem ents ofa cause ofaction willnotdo.' Id. Rule 12(b)(6)
 does not allow dism issalof a com plaint because the coud anticipates ''actualproofof

 those factsis improbable''butthe dlljactualallegationsmustbe enoughto raise a rightto
 reliefabovethe speculative level.''Yalls B.F/a.lnt'
                                                   lUniv.,495F.3d 1289 (11thCir.2007)
 (quoting Twombly,550 U.S.at545).
 111.   ANALYSIS

        A.    Plaintiff's Statutorv Bad Faith Claim Is NotRipe And W illBe Dism issed
              W ithoutPreiudice.

        ln CountlI,Plaintiffs assed a claim underFla.Stat.j 624.155 forstatutory bad
 faith.The Padies agree thatstatutory bad faith claim s do notaccrue untilthere has been


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 a finaladjudication ofIiability underthe disability policy. See e.g.,Feslv.Travelers Ins.
 Co.,753 So.2d 1270,1276 (FIa.2000)(holding thata pady may notbring a cause of
 actionforviolations ofFlorida Statute 5624.155 ''untilthere is a determination ofIiability
 and extentofdamages owed on the first-party insurance contract.'l;see also (DE 9-3,
 Compl.,:123)(conceding thatthe bad faith claim is notripe untilIiability is adjudicated or
 confessed in Plainti
                    ffs'favoron Count1)*
                                       ,(DE 15,Def.'s Resp.Mot.Dismiss,at3)($
                                                                            A
 cause ofaction foran insurer's failure to settle its insured's claim in good faith does not

 accrue untiland unless the insured's underlying first-pady action forinsurance benefits is

 resolved favorably to the insured.''). They disagree,however,on whetherthe bad faith
 claim should be abated ordismissed withoutprejudice. Defendantarguesthatbecause
 theclaim isnotripe,the Coud Iackssubjectmatterjurisdictionoverthe claim underAdicle
 IIlofthe United States Constitution and m ustdism iss it. Plaintiffs respond thatthe Court

 m ay exercise its discretion to abate,ratherthan dism iss,the bad faith claim ,and should

 do so inthe interestof''
                        judicialeconomy.''Afterconsidering the Padies'argumentsand
 relevantcase Iaw ,the Coud agrees with Defendant:The bad faith claim is notripe and

 should be dism issed withoutprejudice.
       ''Adicle llIofthe United States Constitution Iimits the jurisdiction ofthe federal
 courts to cases and controversies ofsufficientconcreteness to evidence a ripeness for

 review.''DigitalProperties,Inc.v.City ofPlantation,121 F.3d 586,589 (11th Cir.1997)
 (citing U.S.Const.act11l,j2,cI.1). Becausea claim thatIacks ripenessis notjusticiable,
 the absence ofripeness precludes the exercise offederaljurisdiction. Keenan B.L.M.
 Gen.Inc.Co.,No.6:17-cv-1426 - OrI-4OGJK,2018 W L 565679,*2 (M.D.Fla.Jan.18,
 2018)(dismissingwithoutprejudice badfaithclaims'dindisputablyunripeforadjudication'')
                                             3
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 (citing Zinni v. ER Solutions, Inc.,692        3d 1162, 1166 (11th Cir.2012)). ''
                                                                                 The
 determinationofripenessgoestowhetherthe districtcoud hassubjectmatterjurisdiction
 to hearthe case.''DigitalProperties,Inc.B.City ofPlantation,121 F.3d 586,591 (11th
 Cir.1997) (internalquotation marks and citation omitted).A claim thatfails ripeness
 should be dismissed forIackofsubjectmatterjurisdiction.See Fed.R.Ci
                                                                   v.P.12(b)(1)'
                                                                               ,
 Goodwin v.Walton County Florida,248 F.Supp.3d 1257,1265 n.3 (N.D.Fla.2017)
 (ci
   ting Lord AbbettMun.Income Fund,Inc.v.Tyson,671 F.3d 1203,1205 (11th Cir.
 2012)).
       ltis undisputed thatPlaintiffs'bad fai
                                            th claim is notripe. See e.g., Fes/,753 So.

 2d at 1276,
           .(''W e continue to hold in accord with Blanchard B. State Farm Mutual
 Autom obile Insurance Co.,575 So.2d 1289 (FIa.1991))thatbringing a cause ofaction
 incoudforviolation ofsection624.155(1)(b)ispremature untilthere isadeterm ination of
 Iiability and extentofdamages owed on the first-pady insurance contract.''l'
                                                                            ,Fred Fox ?.
 SfarrIndemnity & Liability Co.,2017W L78828*1(M .D.Fla.Jan.9,2017)(''lfan insured
 cannotallege success in a breach-of-contractclaim ,the insured's bad-fai
                                                                        th claim m ust

 faiI.''). The claim depends on numerous contingencies,including Plainti
                                                                       ffs'receiving a
 favorable adjudication on theirbreach ofcontractclaim and on Defendant's defenses,
 and thatadjudication being sustained on appeal.See XL Specialty Ins.Co.v.Aircraft
 Holdings,LLC,929 So.2d 578,587 n.7 (FIa.1stDCA 2006)('1The trialcoud's ruling on
 the breach ofcontractclaim is pending on appeal,therefore isnotfinallyresolved.'').The
 badfaith claim isthus too remote and speculative atthis stage to constitute ajusticiable
 ''case orcontroversy''underAdicle IIIofthe Constitution.



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       Plaintiffs argue thatthe Coud should abate the claim ratherthan dism iss it''in the

 interests ofjudicialefficiencya'' Plaintiffs,however,have notclearly adiculated how or
 whythe interests ofjudicialefficiency favorabatementin this case. Indeed,numerous
 couds have found thatabating unripe claimsactuallyunderminesjudicialeconomy. See
 Ironshore Indem ., lnc.v.Banyon 1030-32,LLC,No. 12-61678-ClV-COO KE,2013 W L

 4711155,at*8(S.D.Fla.Aug.3O,2014)(''llludicialeconomyfavorsthe dismissalofthese
 claim s.Padies should notbe encouraged to file claim s thatm ay neverripen.... This is

 awaste ofthe coud'sandthe padies'resourcesv''l;Witkin Design Group,Inc.v.Travelers
 Prop.Cas.Co.ofAm.,No.16-20484-ClV-MORENO,2016 W L 1572964,at*3 (S.D.Fla.
 Apr.18,2016)(dismissing premature negligence claim againstinsurance agentjoined in
 underlying coverage action and reasoning that 'spublic policy and judicialeconomy
 concerns actually favordismissalinstead ofan abatementorstay.''). And regardless of
 any benefitwith regard to judicialeconomy,a federalcoud should notexercise subject
 matterjurisdiction overclaimsthatare notripe.See Evedon v.USAA Casualty Insurance
 Co.,No.15-22139-C1V,2016 W L4083013 (S.D.Fla.Jan.19,2016)(dismissing unripe
 bad faith claim without prejudice,because l
                                           dconcerns (about adm inistrative benefits)
 cannotoverride constitutionalcommands Iimiting the jurisdiction of federalcouds.'l'
                                                                                   ,
 Garc/a v.Scottsdale Insurance Co.2018 W L 3432702,at*3 (S.D.Fla.2018)($d
                                                                        As this
 Coud has found before,abating the bad faith claim ,even if itm ay be in the interestof

 judicialeconomy,is notthe properroute.Bringinga premature bad faithclaim iscontrary
 to the FederalRules of CivilProcedure.'').Accordingly, Plaintiffs' bad faith claim is
 DISM ISSED W ITHO UT PREJUDICE.



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         B.     Defepdant's M otion to Strike is Denied!

         Defendant next m oves the Coud to strike aII bad faith allegations from the

 rem aining breach ofcontractclaim . Specifically,Defendantargues thatone word in one

 sentence should be stricken from the com plaint:''
                                                  The Defendanthad a duty to promptly

 investigate,adjustand issue paymentforthe Covered Loss.See (DE 9-3,Compl.,% 14).
                                                                                ,
 (DE 20,Reply in Suppod of Mot.Dismiss,at5) ('
                                             iDefendant requests the bad faith
 allegationcontained inparagraph%14 ofthe Plaintiffs'Complaintbestricken.').TheCoud
 disagrees thatthe w ord 'dprom ptly''m ustbe stricken from the com plaint.Atthis stage,the

 Courtfindsthe use ofthatword is consistentw ith a breach ofa contractclaim and is not

 an attem ptto incorporate bad faith. In addition,this Coud's dism issalofthe bad faith

 claim m akes clearthatPlaintiffs are notentitled to pursue a bad faith claim untilthatclaim

 has ripened.

 IV.     CONCLUSION

         Accordingly,Defendant's motion to dismiss (DE 13)is GRANTED IN PART AND
 DENIED IN PART. Count 11for bad faith is DISM ISSED W ITHO UT PREJUDICE.

 Defendant's m otion to strike is DENIED. Defendant m ust answer Plaintiffs'com plaint

 within fourteen days ofthe date ofthis order.

         DONE A ND O RDERED in cham bers in M iam i,Florida,this         day ofNovem ber,

 2018.




                                                  KATHLEE M .W ILLIAM S

                                                  UNI
                                                    TED7L
                                                        FATESDISTRI
                                                           $'
                                                                  CTJUDGE
                                             6
